CaSe 17-07671-LA13 `Filed 12/26/17 Entered 12/26/17 16_236215 DOC 2, PQ. l Of 8

CSD 1300 (12/01/17)

United States Bankruptcy Court
Southern District of Ca|ifornia, San Diego Division

Debtor(s) Case Number.'
Valle, Amadio Daniel Jr. & Va||e, Susan Ellzabeth

[ ] Check if this is an amended
plan, and list below the sections of
the plan that have been changed..

cHAPTER `13 PLAN

Dated:December 22l 2017 '

_Notices

To All Parties in lnterest:
The court has provided guidelines for use of this form that can be found° 1n CSD 1300A.

This plan does not provide for avoidance of a lien which impairs an exemption. This must be -
sought by separate motion. ~

To Debtors:
|n some places this form provides you with options. You should carefully consider whether you

need to elect among the options. lf you do, you should carefully consider which option is
appropriate.

|n the following notice to creditors, you must check each box that applies.

To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

¥oushould-readthis- plan<:arefully~anddiscuss- -it with -yourinorneyrifyotrhaveoneinthisbankruptcy_~__
case. lf you do not have an attorney, you may wish to consult one.

|f you oppose the plan’ s treatment of your claim or any provision of this plan, you or your attorney must

f le an objection to confirmation in accordance with Southern District of Ca|ifornia Loca| Bankruptcy

Rule 3015- 5 within 7 days after the filing of the Notice of Meeting of Creditors l-Ield and Conc|uded. ' . -.,
~ Untime|y objections may not be considered. Any such objections must be noticed for hearing at least

28 days after filing the objection. The Court may confirm this plan without further notice if no objection

to confirmation is fled See Bankruptcy Rule 3015(f). |n addition, you may need to t” le a timely proof of

claim in order to be paid under any plan.

The following matters may be of particular importance Debtors must check one box on each line t_o

state whether or not the plan includes each of the following items. if an item is checked as "Not
lnc/uded” or if both boxes are checked, the provision will be ineffective if set out later m the plan

1.1 A limit on the amount of a secured claim, set out in § 3.2, which may [X] v [ ] Not
result in a partial payment or no payment at all to the secured creditor 'nClUded included

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1.2 Nonstandard provisions, set out in Part 9 [ ] [X] Not

lnc|uded included
mlan Payments and Length of P|an

2.1 Regu|ar'payments.
Debtor(s) will make regular payments to the trustee as follows:

Comp|ete one.

$ 3,800.00 per month for 60 months (App|icab|e commitment period for above median debtor(s))

2.2 lrregular payments.

Debtor(s) will change the payment amount at different time periods as follows:

insert additional payments as needed
2.3 Manner of payments.

Regu|ar payments must be made directly to the trustee from future earnings unless the court issues an
earnings withholding order. Any otherjmanner of payment must be specified by checking the box below.
`[ ] Other (specify method of payment):

_2.4 income tax issues. .

Check all that apply.

 

[X] Debtor(s) will retain any federal or state tax refunds received during the plan term.-

[X] Debtor(s) will supply the trustee with a copy of each federal and state tax return filed during the plan
term within 14 days of filing the return. .

[ ] Debtor(s) will turn over to the trustee all federal and state income tax refunds, other than earned:
income or child care tax credits, received during the plan term. ' 1

[ ] Debtor(s) will supply the trustee with federal and state tax returns filed during the plan term and will
turn over to the trustee a portion of any federal and state income tax refunds received during the
plan term as specified below. , ' 7

Debtor(s) must not change their withholding exemptions during the plan term unless there is

an appropriate change in circumstances and will timely pay all post-confirmation tax liabilities
directly to the appropriate taxing authority as they become due. ,

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2.5 Additional payments.
Check one. lf neither box i_s checked, “None” applies.
[X] None. lf “None" is checked, the rest of § 2.5 need not be completed or reproduced.

v 2. 6 The total amount of estimated payments to the trustee provided for' 1n §§ 2. 1 through 2. 5 is
$ 228,000. 00

-Treatment of Secured C|aims' ,
3.1 Maintenance of payments and cure of any defau|t.

Check one. lf neither box is checked, ”None” applies.
[x] None. lf “None” 1s checked, the rest of § 3. 1 need not be completed or reproduced

3.2 Request for valuation of security and claim modification.

To determine the proper valuation of real estate secured claims, the debtor(s) must timely fi|e`a
motion in accordance with Local Bankruptcy Rule`3015-8 in addition to including the creditor in this
section of the plan. No such motion is necessary for valuation determinations for personal property
secured claims.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an
unsecured claim under Part 5 of this plan unless the claim' ls entitled to priority status, in which case it
will be provided' 1n Part 4. lf the amount of a creditor’ s secured claim is listed below as having no value,
the creditor’s allowed claim will be treated in its entirety as an unsecured claim under Part 5 of this
plan. Unless othenrvise ordered by the court, the amount of the creditor ’s total claim listed on the proof
of claim controls over any contrary amounts listed in this paragraph. `

The holder of any claim listed below as having value in the column headed Amount of secured claim
will retain the lien until the earlier of the following events as applicable to the particular secured
creditor: 1) payment of the underlying debt determined under nonbankruptcy law; 2) discharge under
11 U. S. C. § 1328, cr 3) completion of payments under the plan if the debtors(s) are not entitled to a
discharge After the date applicable to termination of the lien it will be released by the creditor unless
theclaim.is.a_nondischargeable_ claimmedtoagovemmentaLentity_SeeJ_ocaLElankl:uptcy_Rule
3015- 8.

Check one. lf neither box is checked, “None" applies. '
[ ] None. lf “None” is checked, the resth § 3.2 need not be completed or reproduced

The remainder of this paragraph will be effective only if the applicable box in Part 1 of'this plan
is checked,

[x] The debtor(s) request that the court determine the value of the secured claims to be treated in the
manner below. For each non-governmental secured claim listed below, the debtor(s) state that the
value of the secured claim should be as stated below in the column headed Amount of secured claim.
For secured claims of governmental units, unless othenrvise ordered by the court pursuant to a claim
objection, the amounts listed in proofs of claim filed in accordance with the Bankruptcy Rules control
over any contrary amounts listed below. For each listed secured claim, the controlling amount of the
claim will be paid in full under the plan with interest at the rate stated belcw.

3.2.1 |dentify creditor and collateral.

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Vai|e Amadio Danie| Jr. & Va|le Susan Elizabeth

 

Case Number:

 

Name of creditor
with last 4 digits of

Estimated amount
of creditor's total
secured claim

Collateral

Vaiue of Collateral

senior to creditor's

Amount of claims

secured claim

 

 

account number
_ M°de| Finance/1073 5,289.00 2013 Suzuki GSX-RGOO. 5,000.00 0.00
Vclkswagen 24,884.00 2015 Volkswagen 8,100.00 0.00
credit/1172 Beefle

 

 

 

 

 

 

insert additional claims as needed

3.2.2 Treatment of creditor.

 

 

 

Name of creditor _Amount, of allowed interest rate as .f, = Monthly payment to Estimated total of
with last 4 digits of secured claim provided by law" creditor monthly payments
account number
Mode| Finance/1073 5,289.00 0.00% 528.90 5,289.00
Vo|kswage,n 24,884.00 0.00% 2,488.40 24,884.00
credit/1172

 

 

 

 

 

 

 

insert additional claims as needed.

3.3 Secured claims excluded from 11 U.S.C. § 506.

Check one. if neither box is checked, “None” applies.
[x] None. lf "None” is checked, the rest of § 3.3 need not be completed or reproduced

3.4 Surrender of collateral to secured creditors.

Check one. if neither box is checked,' "None” applies
'[x] None. if "None” is checked, the rest of § 3.4 need not be completed or reproduced

3.5 intentional exclusion of claim from treatment under the plan.

Secured and partially secured creditors who received proper notice but who do not timely tile _a proof of
claim, and who are not provided for elsewhere in the plan, will be considered excluded creditors and

treated in this section.

Check one. if neither box is checked, "None” applies
[ 1 None. If "None” is checked, the resth § 3.5 need not be completed or reproduced

[X] The claims held by creditors listed below will not be provided for under the plan, and the plan will- not
affect any of the claimant's rights under applicable law. »‘~

 

Description of claim

Name of creditor and description of claim
1330 Shoshone Falls Dr, Ramona, CA 92065-2112

LoanDepot/5426

 

 

 

 

 

Insert additional claims as needed

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Treatment of Priority Claims

4.1 Treatment of priority claims.

A|i allowed priority claims other than those treated in §§ 4.5 and 4.6 of the plan will be paid in full without
interest.

4.2 interest exception.

if the plan provides interest to unsecured nonpriority creditors, that same rate of interest will be paid'to all
creditors for which interest is not othenlvise specifically provided under this plan.

4.3 Trustee’s fees.

The trustee will receive a fee, the percentage of which is set by the United States Trustee in accordance with
applicable law. The trustee 's fees are estimated to be '10.00% of plan payments; and during the plan term, they
are estimated to total $ 11,020.00

4.4 Adequate protection payments.

The trustee will make pre-confirmation adequate protection payments to secured creditor identified in General
Order 175-F from plan payments received from the debtor(s), as this order may be amended from time to
time

4.5 Domestic.support obligations.

Check one. If neither box is checked, “None” applies.
[x] None. if "None” is checked, the rest of § 4.5 need not be completed or reproduced

4.6 Assigned domestic support obligations.

[ ]The allowed priority claimslisted below are based on a domestic support obligation that has been
assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim _
under 11 U.S.C. § 1322(a)(4), but not less than the amount that would have been paid on such claim
if_theestateof_thedebtot(sywerelo_beliquidatedundecchapter_7a$ee_1~1_U,STC,_§1325{a)(4)._________

 

Name of creditor Amount of claim to be-paid by trustee
None _
Even if a domestic support obligation claim is not listed here, debtor(s) must nevertheless pay it in full to
receive a discharge -

insert additional claims as needed.

 

 

 

 

 

4.7 Attorney’s-fees. ' . -,
The total amount of attorney's fees to be paid under the plan is estimated to be $ 1,800.00. The balance of the
fees awarded by court order to professionals for debtor(s) under 11 U.S.C. § 330 will be paid as follows:
Check one o
[x] on a priority basis before other priority claims other than trustee ’s fees and adequate protection
payments.

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[ ] in installment payments of $
4.8 Other priority claims and secured portion of federal and state tax claims.

Aii priority claims identified in 11 U.S.C. § 507l including unsecured priority tax claims, are included i_n this
section of the plan. The secured portion of a federal or state tax claim is also included in this section unless
specifically provided for elsewhere in this plan.

Check one. If neither box is checked, "None” applies. .
[ ] None. if “None” is checked, the resth § 4.8 need not be completed or reproduced

[x] The debtor(s) estimate the total amount of priority and secured tax claims to be paid under this section
of the plan to be$ 4,335.50. This sum is a total of all of the payments listed below to be paid in
accordance with this section. Priority claim payments are owed to the following creditors in the _
following amounts. ` ~

Check all that apply.

[ ] lntemal Revenue Service in the estimated amount of $

[x] Franchise Tax Board in the estimated amount of $ 4,335.50

[ ] California Department of Tax and Fee Administration in the estimated amount of $

[ ] Employment Development Department in the estimated amount of $

[ ] County Property Tax Assessor (not real property taxes) in the estimated amount of $
[ ] Other in the estimated amount of $ " ’

-Treatment of Nonpriority Unsecured Claims
5.1 General.

Nonpriority unsecured claims will be paid to the extent allowed as specif\ed in this Part.

5.2 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classined in this plan will be paid, pro rata, all
funds remaining after payment of all other creditors provided under the plan. Payments to unsecured creditors
will be allowed to the extent paid if an allowed amended, late filed, or late added claim reduces the amount

7 available to unsecured creditors under this section. -

 

5.2.1 Projected payment to general unsecured creditors.

Based upon the total payments to the trustee listed in § 2.6 of the plan, minus the payments under the plan
on the claims scheduled by the debtor(s) that are provided for in §§ 3.1 through 3.3, Part 4, §§ 5.3 through
5.5, and Part 6 of the plan, the estimated payment to allowed nonpriority unsecured claims not separately
classified under the plan is $ 62,691.93 . This amount will be shared on a pro-rata basis on these claims. This
amount will not be reduced by claims arising under 11 U.S.C. § 1305 and §§ 507(a)(1)(A) and (B) that are not
fully addressed in the plan, but may othenrvise increase or decrease

5.2.2 Required payment to nonpriority unsecured creditors due to the liquidation test.
if the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid
approximately $§.l§&_BlThe total of the payments on allowed nonpriority unsecured claims will be made-in at

least this amountl and debtor(s) will be required to make payments in addition to those specified in Part 2 to
prevent the plan from going into default.

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5.3 interest on allowed nonpriority unsecured claims not separately classified

Check one. if neither box is checked, "None” applies.
[x] None. if “None” is checked, the rest of § 5.3 need not be completed or reproduced

5.4 Non-filing co-debtor claim treatment for maintenance of payments and cure of any default on
nonpriority unsecured claims.

Check one. if neither box is checked, "None” applies.
[x] None. If “None” is checked, the rest of §45.4 need not be completed or reproduced
5.5 Other separately ciassified~nonpriority unsecured claims.

Check one. if neither box is checked, “None” applies.
[x] None. lf "None” is checked, the rest of § 5.5 need not be completed or reproduced

mExecutory Contracts and Unexpired Leases

The executory contracts and unexpired leases listed below are assumed and will be treated as specified All
other executory contracts and unexpired leases are rejected

Check one if neither box is checked, "None” applies.
,[x] None. if "None” is checked, the rest of § 6.1 need not be completed or reproduced

Order of Distribution of Trustee Payments

Trustee will have discretion to determine the order of distribution within the requirements of applicable law and
whether to reserve payment to claims that are subject to a pending objection.

-esting of Property of the Estate

Property of the estate will not revest in the debtor(s) until a Chapter 13 discharge is granted or the case is

~__-dismissedorclosed-withouta‘€hapter#l 311ischarge.-Before-then,-thedebtor(.srmustseek-approval~ofthe__~-_

court to purchase, sell, or refinance property of a material value, or to enter into loan modifications
Revestment will be subject to all liens and encumbrances in existence when th`e case was tiled, except those
liens avoided by court order or extinguished by operation of law. in the event the case is converted to a case
under chapter 7, 11, or 12 of the Bankruptcy Code,.the property of the estate will vest in accordance with
applicable law.

-Nonstandard P|an Provisions
Check “None" or List Nonstandard P|an Provisions

[x] None. if "None” is checked, the rest of Part 9 need not be completed or reproduced
Under Bankruptcy Rule 3015(0), nonstandard provisions must be set forth below. A nonstandard provision is

a provision not othen/vise included in the Ofiicial Fonn or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffective `

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CSD 1300(12/01117) Debtor(s)Vaile Amadio Jr. &Valle Susan Elizabeth

 

Casc Number:

The following plan provisions Wili be effective only if there is a check in the box “included" in § 1.2.

Part10: Signatures

Signatures of Debtor(s) and Debtor(s)’ Attorney

|fthe Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures
are optional The attorney for the Debtor(s), if any, must sign below.

 

 

/s/§ & ¢g ,~_¢ é '4 &FFLA @W¢/lé£&
Si_ ature of Debt 2

Executed on December 22 2017

 

Da't€: December 22! 2017

 

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also
certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained
ln CSD 1300l other than any nonstandard provisions included in Part 9.

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